            Case 1:22-cv-00185-AJ Document 1 Filed 05/24/22 Page 1 of 18




                             UNITED STATES DISTRICT COURT
                             FOR STATE OF NEW HAMPSHIRE


JUSTIN LAUNDRY                                )
                                              )
                Plaintiff,                    )
v.                                            )
                                              )
PEDDINGHAUS CORPORATION                       )
                                              )
                Defendant.                    )
                                              )


                                  NOTICE OF REMOVAL

        Now comes defendant Peddinghaus Corporation and respectfully gives notice of the

removal of the above-captioned lawsuit from the Superior Court, Coos County, State of New

Hampshire, to the United States District Court for the District of New Hampshire, pursuant to 28

U.S.C §§ 1332,1441 and 1446. In support of this Notice, Peddinghaus states:

     1. On April 13, 2022, plaintiff Justin Laundry filed suit against Peddinghaus in Coos

        County Superior Court seeking money damages for an alleged crush injury to his left

        hand and fingers.

     2. On or about May 9, 2022, Peddinghaus received a copy of the Summons and Complaint.

        True and accurate copies are attached as Exhibit A.

     3. Upon information and belief, Laundry seeks monetary damages in an amount exceeding

        $75,000.00.

     4. Laundry asserts in the Complaint that he is a natural person with a principal place of

        residence of 29 Jericho Road, Berlin, New Hampshire 03570.

     5. Peddinghaus is a corporation organized under the laws of Delaware with its principal

        place of business at 300 North Washington Avenue, Bradley, Illinois 60915.
          Case 1:22-cv-00185-AJ Document 1 Filed 05/24/22 Page 2 of 18




   6. In sum, Laundry is a New Hampshire resident with his principal place of residency in

       New Hampshire, and Peddinghaus is organized in Delaware with its principal place of

       business in Illinois. Thus this action is removable under this Honorable Court’s diversity

       jurisdiction.

   7. This Notice of Removal has been timely filed under 28 U.S.C. § 1446(b)(3) because it

       has been filed within thirty (30) days after receipt of a copy of the Complaint by

       Peddinghaus.

   Wherefore, defendant Peddinghaus Corporation now removes this action currently pending

in the Superior Court for Coos County (Docket No.: 214-2022-CV-00020) to the United States

District Court for the District of New Hampshire.

                                                     Respectfully submitted,

                                                     Defendant,
                                                     Peddinghaus Corporation
                                                     By their Attorney,

                                                     /s/ Christian H. Hinrichsen
                                                     Christian H. Hinrichsen, BBO #264910
                                                     Melick & Porter, LLP
                                                     One Liberty Square
                                                     Boston, MA 02109
                                                     Tel: 617-502-9606
                                                     chinrichsen@melicklaw.com


Dated: May 24, 2022
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               EXHIBIT
               EXHIBIT A
                       A
             Case 1:22-cv-00185-AJ Document 1 Filed 05/24/22 Page 4 of 18
                                                                                                                                                   Filed
                                                                                                                          File Date: 4/13/2022 3:02 PM
                                                                                                                                   Coos Superior Court
                                                                                                                                      E-Filed Document




                                   THE STATE OF NEW HAMPSHIRE

COOS, SS.                                                               COOS COUNTY SUPERIOR COURT
                                                                        DOCKET NO.:214-2022-CV-00020
                                                                              JURY TRIAL REQUESTED

                                                    Justin Laundry
                                                 29 Jericho Road
                                               Berlin/NH 03570
                                                              V.

                                        Peddinghaus Corporation
                                     300 North Washington Avenue
                                           Bradley, IL 60915

                                                    COMPLAINT

       NOW      COMES        the    Plaintiff,       Justin        Laundry,      by    and     through       his     attorneys,

Cleveland,     Water s and      Bass,       P.A.,     and      hereby         complains        against   the       Defendant,

Peddinghaus Cor oration (“Peddinghaus’), as follows:

                                     PRELIMINARY STATEMENT

       1.      This    is. an      action     brought          by       the   Plaintiff,     Justin   Laundry,           seeking

compensation      for damages         he     sustained             as   a result      of the     defective         and    unsafe

condition of a shot blasting machine, which was designed, manufactured and installed

by the Defendant : at Mr. Laundry’s workplace.

                                    PARTIES AND JURISDICTION

       2.       The   Plaintiff, Justin Laundry, is a natural person with a principal place of

residence of 29 Jericho Road, Berlin, New Hampshire 03570.




                             This is a Service Document For Case: 214-2022-CV-00020
                                                Coos Superior Court
                                                 4/19/2022 10:27 AM
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          3.       The Defendant, Peddinghau s, is a corporation organized under the laws of

Delaware with a p rincipal place of busine ss at 300 North Washington Avenue, Bradley,

lllinois 60915.

        4.         At a Il relevant times,               Ped dinghaus was       in the    business of designing,

manufacturing,          as sembling,          distributing,    selling, and   supplying    commercial      and     retail

roller conveyor shot blasting machines,                       i ncluding the blasting machineat issue in this

case.

          5,       At al | relevant times, upon i formation and belief, Peddinghaus conducted

business within the > state of New Hampsh re.

          6.       This Court's exercise of juri sdiction over the subject matter of this lawsuit

is proper pursuant to RSA 491:7.

          7.       Venue         lies within the Superior Court of Coos              County,     pursuant to RSA

507:9.

                                                              FACTS
          8.       The Plaintiff re-alleges and incorporates the facts contained in the above

paragraphs as if fu           lly set forth herein.
          9.       At al | relevant times, Mr. La undry was employed as a laborer by Capone

Iron     Corporation          located    in    Berlin,    Ne Ww Hampshire      (“Capone”).      Capone      performs

fabrication of steel products.

          10.      On     \   January 21, 2021 Mr.              Laundry was     assigned      to operate     a roller

conveyor        shot    blz asting      machine      which,     upon   information   and     belief,   is called     the

“PeddiBlast” (here after the “Machine”).
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          11.          The Machine was manufactured and installed by Peddinghaus and is used

to shot blast steel I-Beams required for cc dnstruction.

          12.          Too perate the Machine, |-E 3eams are loaded onto rollers at the input area

of the Machine. O nce the |-Beam is loadsé 2d, sensors activate the rollers which pull the I-

Beam      through a conveyor. While in the conveyor, tiny particles of metal media make

contact with the e xterior -of the [-Beam a t high speeds. This “blasting” process in effect

sands the |-Beam to create a smooth fini sh. When | the blasting process is complete, the

conveyor rollers p ush the sanded I-Beam to the output of the Machine.

          13.          Asa result of this blasting p rocess, the Machine generates ite) debris or

sand-like       particles ' that accumulate         at its 5 output area.      Because   this Machine was not

installed       with    airl| ines   on   both   sides   o   f the   Machine    and   there was   no air wand

connected to the z airline to blow the debi: 5, or other device or mechanism to contain this

debris,     Mr. Laund ry and other employeé 2s were                    instructed to reach   inside the output

area of the Mach ne and wipe away de bris with their hands at the conclusion of the

blasting process.

          14.          On J anuary 21, 2021        Mr. L aundry was watching as an [-Beam exited the

Machine. Once th > |-Beam reached the ¢ nd of the conveyor belt, Mr. Laundry placed a

gloved hand inside > the output area to wip e away the excess debris.

          15.          Ash   e did so, his glove was 5 caught between the I-Beam and the internal

roller conveyor, causing his hand to beco me ca

          16.          Mr. L Laundry suffered a seri ous crushing injury to his left hand and digits

which ultimately re sulted in partial amputa tion of two of his fingers.
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          17.        AS    : a result     of his        injurie s,       Mr.   Laundry      required     surgeries,    medical

intervention and n 1anagement including, but not limited to, revision amputations of two

of his fingers and occupational therapy in an effort to regain the strength and function in

his hand.         He con tinues to experience pain, discomfort, sensitivity and limited range of

motion in this extre 2mity.

                              COUNT ONE — PRO                     DUCTS LIABILITY

        18.          The Plaintiff re-alleges and incorporates the facts contained in the above

paragraphs as if fu lly set forth herein.

        19.         At     a II relevant       times,       the      Defendant       was     regularly     in   the   business

manulacturing            or otherwise introducing i nto the stream of commerce                              steel fabrication

machinery,         includ ng, a roller conveyor                   shot blasting      machine      of the same         type and

model as the Mac nine which caused the i njury to the Plaintiff.

       20.           Upor 1 information and belie f, prior to January 21, 2021, the Machine was

designed, manufa ctured, imported, distri outed, sold, and installed by the Defendant at

Capone for use at Mr. Laundry’s place of employment.

       21.           The Machine was defective and unreasonably dangerous at the time it left

the possession, ct istody and control of tk 1e Defendant and at the time of its installation

due to defects inc luding, without limitatio n, the Machine lacked a safety mechanism to

protect operators from rotating parts on th 1e outgoing roller conveyor including, sufficient

and adequate eme 2rgency stop button(s), sufficient and adequate airlines and air wands

to remove          metal    debris,      and     adequate            warnings, written        in English,       regarding   the

dangers         incident    to the      use    of the     Mac fine and           physical    removal      of the debris that

gathered as a mat ter of course at the outg ut of the Machine.
                                                                     4
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            22.      The Machine was in such d efective and unsafe condition at the time it was

installed at Capon e and remained in suc h unsafe and defective condition, substantially

unchanged, until t he time of Mr. Laundry’ S injury.

      23.            Asa    direct and proximate             result of the defective and unsafe condition of

the Machine, and the lack of sufficient 2 nd adequate warnings by the Defendant, Mr.

Laundry suffered { bhysical pain and persg nal injuries ‘when the Machine crushed his left

hand, including, b ut not limited to, permanent injuries, physical pain and suffering, loss

of earnings         and | oss of earning       capacity,          loss of enjoyment    of life for his projected

lifetime,     medical      ills, and other damage es, including costs and attorney's fees, in an

amount sufficient to invoke the jurisdiction of this Court.

        24.          Acco rdingly,    the    Plaintiff       demands      judgment     against   the    Defendant,

together with costs 5 of suit, counsel fees, & ind other further relief as this Court deems just

and proper under the circumstances.

                                     COUNT TWO-              - NEGLIGENCE
        25.          The Plaintiff re-alleges and incorporates the facts contained in the above

paragraphs as if fu lly set forth herein

        26.          The   Defendant had a duty to test and/or inspect its products; to design,

manufacture,          mar ket,   assemble,      sell,    a   nd/or install its products without defectsor

deficiencies, inclug ing, but not limited to, § sufficient and adequate airlines and air wands,

sufficient and ade quate emergency stop functions, and warnings in English, and in a

manner that they do not present a fore seeable                          risk of harm   to persons      during their

ordinary,         intendec 1 and     reasonably         for eseeable|     use;   and   to   otherwise     exercise    E

reasonable care to prevent injury to others                  , including Mr. Laundry.
                                                              5
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        27.       The       Defendant's          failure       to test      and/or      inspect      its products;        to design,

manufacture,          asse smble,       market,      sell,       a nd/or    install     its products        without       defects    or

deficiencies, inclug ling, but not limited to, sufficient and adequate airlines and air wands,

sufficient and adeq juate emergency stop f unctions,                            and warnings in English, and in such

a   manner     that    it   did not present a fore seeable                      risk of harm         to persons         during their

ordinary,     intendec 1         and    reasonably             fo I eseeable|         use;   and      to    otherwise       exercise

reasonable      care        o prevent          injuries        to others,     including       Mr.     Laundry,         constituted    a

breach of the afore mentioned duties.

        28.       As a direct and proximate result of this negligence and lack of ordinary

care by the Defer dant, Mr.                Laundry suffered damages,                         including,      but not limited to,

permanent injuries 5, physical pain and st iffering, loss of earnings and                                        loss of earning

capacity,     loss of ¢ enjoyment          of life for h is projected                   lifetime, medical bills, and other

damages,       includin g costs and              attorney's         fees,     in an      amount       sufficient to invoke the

jurisdiction of this ( Court.

      - 29.       Acco rdingly,          the      Plaintiff       demands | judgment                 against     the     Defendant,

together with costs 5 of suit, counsel fees, @ ind other further relief as this Court deems just

and proper under the circumstances.

                                 COUNT THREE- NE GLIGENCE (failure to warn)

        30.       The Plaintiff re-alleges and incorporates the facts contained in the above

paragraphs as if fu lly set forth herein.

        31.       The Defendant had a duty to implement reasonable safety measures to

prevent the Plaintif ff, and other operators ¢ bf its machine, from injuring themselves, to use

reasonable       care       in    the   selection         of    safety      accessories        for    the    Machine,        to   warn

                                                                    6
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operators of the po tential for injury, and to otherwise exercise reasonable care to ensure

that the Machine                 was reasonably safe             o that other persons,           including        Mr. Laundry,

would not be injure d.

          32.          The       Defendant's       failure     to implement        reasonable          safety     measures          to

prevent     Mr.        Laun dry from          injuring       hims elf, to select     and     install     appropriate          safety

accessories         for th e Machine,              to warn       Lperators| of the         potential     for injury,         and    to

otherwise exercise reasonable care to en sure that the Machine was reasonably safe so

that other persons \ including Mr. Laundry                        would not be injured, constituted a breach of

its aforementioned duties.

          33.          A        a direct and proximate           result of this negligence and lack of ordinary

care by the Defer dant,                 Mr. Laundry suffered damages,                  including,        but not limited to,

permanent         injuries 5, physical pain and st iffering, loss of earnings and                               loss of earning

capacity,       loss       of    enjoyment     of life for h Ss projected          lifetime, medical            bills, and     other

damages,          includin g costs and attorney's                  fees,   in an    amount      sufficient        to invoke        the

jurisdiction of this ( Court.

          34.          Acco rdingly,         the   Plaintiff     demands      judgment         against      the      Defendant,

together with costs 5 of suit, counsel fees, & ind other further relief as this Court deems: just

and proper under t he circumstances.

                COUNT FOUR — BREACH OF MPLIED WARRANTY                                           OF FITNESS
                             FOR A PARTI CULAR PURPOSE

          35.          The Plaintiff re-alleges and incorporates the facts contained .in the above

paragraphs as if fu lly set forth herein.
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        36.      At    all     relevant      times, -Defe ndant    knew     or should       have     known               that   the

Machine would         be used          by operators, su ch as Mr. andy                  for shot blasting I-Beams,

that users would        n    eed sufficient and ade uate airlines to push back particles emerging

from   the Machine , sufficient and                adequ ate emergency           stop    button(s)           and     adequate

safety instructions written in English, and that end users, such as Mr. Laundry, would

rely on the Defend ant’s skill or judgment in manufacturing and selling a product for the

particular purpose of sanding [-Beams.

        37.      The         Defendant        impliedly   warranted     that    purchasers         and        users        of the

Machine could rely y on the Defendant's sk ll or judgment in manufacturing and selling a

product which was fit for the particular pur pose of shot blasting |-Beams.

        38.      In hi       s role at Capone,        Mr. Laundry was the type of person                           who      would

reasonably be expected to use or be affed ted by the Machine.

        39.      Mr. L aundry reasonably reli >d upon the Defendant's skill and judgment as

to the quality of th e product, including, wi thout limitation, that it would be safe, suitable,

and fit for use in'skt rot blasting activities by workers such as Mr. Laundry.                           |

        40.      Mr. L ‘aundry’s activities in c¢ bnnection with the Machine were performed in

an ordinary, intend ed and foreseeable ma nner.

       41.       The defective and unreas( »nably dangerous condition of the Machine,

including,     without         limitation,     insufficien t and      inadequate        airlines    and            air    wands,

insufficient and in adequate              |               S top button(s)      and insufficient and inadequate

safety warnings,             written   in English,    con stitutes a breach         of the implied                 warranty       of

fitness for a partic ular purpose.
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        42.        As a direct and proximate 1 esult of this breach of the implied warranty of

 fitness by the Def endant, Mr. Laundry s Jffered damages,                          including, but not limited to,

permanent      injurie 5, physical pain and s uffering, loss of earnings and                        loss of earning

 capacity,    loss of enjoyment          of life for h is projected lifetime, medical               bills, and    other

 damages,     includir g costs         and   attorney’ 5 fees,         inl an   amount     sufficient to invoke     the

jurisdiction of this Court.

      43.          Accc   rdingly,     the   Plaintiff      demands          judgment     against   the   Defendant,

 together with cost S of suit, counsel fees, and such| other and further relief as this Court

 deems just and. pr oper under the circums                   ances.


        COUNT FIVE — BREACH                       OF IMP LIED WARRANTY                  OF MERCHANTABILITY

        44.        The Plaintiff re-alleges and incorporates the facts contained in the above

 paragraphs as if fu lly set forth herein.

        45.        The    Defendant,         by    desig ning,        manufacturing,      assembling,     marketing,

 selling, and/or     ins talling the     Machine,        in pliedly warranted that the Machine would                 be

 reasonably fit for it s ordinary, intended, and reasonably foreseeable use.

        46.        The    implied    warranty        runs     from     the   seller to the    purchaser and       then

 through the ultima te user.

        47.        In hi s role at Capone,           Mr. Laundry was             the type of person who          would

 reasonably be exp ected to use, operate, ¢ consume, or be affected by the Machine.

        48.        Mr.    Laundry      reasonably           r elied   upon. this    implied    A           when      he

 engaged in shot b asting activities involvir 1g the Machine on behalf of his employer.

        49.        Mr. L _aundry’s activities in ¢ onnection with the Machine were performed in

 the ordinary, inten ded and foreseeable m                  anner.

                                                                9
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        50.       The    defective        and    unreasonably        dangerous     condition       of the     Machine,

including,     without      limitation,     insufficient      and    inadequate       airlines     and      air wands,

insufficient and in adequate emergency stop button(s) and insufficient and inadequate

safety warnings,         written. in English,          constitutes    a breach     of the implied warranty           of

merchantability.

        51.       As a direct and proximate result of the Defendant's breach of the implied.

warranty of merch antability, Mr. Laundry suffered damages, including, but not limited to,

permanent injuries, physical pain and suffering,                      loss of earnings and          loss of earning

capacity,      loss of enjoyment          of life for his projected          lifetime, medical      bills, and    other

damages,        including    costs and          attorney's fees,     in an amount         sufficient to invoke the

jurisdiction of this Court. |

     © 52.        Accordingly,       the        Plaintiff   demands        judgment      against    the     Defendant,

together with cost s of suit, counsel fees, and other further relief as this Court deems just

and proper under the circumstances.

                                                            JURY TRIAL
    53. The Plaintiff demands a jury trial under New Hampshire law.

                                                            Respectfully    submitted,

                                                            JUSTIN LAUNDRY
                                                            3y his Attorneys,
                                                            CLEVELAND, WATERS AND BASS, P.A.


Dated: April 13, 2022                                       s/ Mark D. Wiseman
                                                            Mark D. Wiseman (N.H. Bar No. 2771)
                                                            Two Capital Plaza, PO Box 1137
                                                            Concord, NH 03302-1137
                                                            603) 224-7761
                                                            wisemanm@cwbpa.com
                                                              10
                  Case 1:22-cv-00185-AJ Document 1 Filed 05/24/22 Page 14 of 18




                                  CLEVELAND,         W, ATERS AND          BASS,        P.A.
                                                                   |
                                                   ATTO RNEYS AT LAW
                                                                       [
                                                                   |


MARK D. WISEMAN, ESQUIRE                                           |                           Two CAPITAL PLAZA, P.O. Box 1137
(603) 224-7761 EXT. 1017                                                                CONCORD,    NEW    HAMPSHIRE    03302-1137
(603) 224-6457 FACSIMILE
WISEMANM@CWBPA.COM




                                                                   |
                                                        May 9, 2022
                                                                   |
    CERTIFIED MAIL — RETURN RECEIPT                      REQUESTED
    7019 1120 0001 2 182 7187                                      |




    Peddinghaus Corp oration                                       |

    300 N Washington Avenue
    Bradley, IL 60915
                                                                   |
                                                                   |

            Re:      Just n Laundry v. Peddin          ghaus Corporation
                     Case > No.: 214-2022-CV-0f         0020       |



                                                                   |
                                                                       |
    Dear Sir/Madam:                                                |
                                                                   |
                                                                   |

            Enclosed please find a copy of the service of process made upon the New
    Hampshire Secret: ary of State in the above- captioned matter. You are a named defendant
    in the above-captic ned matter, and this s ervice is in compliance with RSA 510:4.

                                                        Very truly yours,




    MDW/kcm
    Enclosures

   CC:      Mr. Justin L   aundry (w/out enclosu res)




                                                                    |
              MEMBER   OF L| EGAL NETLINK ALLIANCE, AN IN TERNATIONAL ALLIANCE     OF    INDEPENDENT      LAW   FIRMS
                                                                    |
                                                                   |
                    Case 1:22-cv-00185-AJ Document 1 Filed 05/24/22 Page 15 of 18
                                          Merrimack     Cou nty Sheriff's Office
                                                       DAVIE   DA.        CROFT
                                                  333 Dani e| Webster Hwy
                                                      Boscaw en, NH 03303
                                                      Phone: 603-796-6600




 PEDDINGHAUS CORP ORATION
 300 N WASHINGTON 4 \VE
 BRADLEY, IL 60915




                                                AFFIDAVI T           OF    SERVICE




             MERRIMACK,             SS.                                                               5/3 /22



        I,        DEPUTY  JEN INIFER L BOUCHER,   this                     date      at     INT                                summoned
the within            named defendant     PEDDING HAUS                     CORPORATION             as Mw          in    commanded      by
leaving   at          the of ‘fice of David Sca nlan,                        Secretary         of     State        of    New
Hampshire,   its tz rue and lawful Att                         orney for the service of process  under,
and by virtue   of     Chapter   510:4, N                      ew Hampshire Revised Statutes Annotated,
as  amended,  a tru le and   attested co                       py     of     this     Summons         and    Complaint,          and     I
paid the Secretar ry of State ten ($                           10.00)         dollars        las    his     fee        for   accepting
service.


FEES

  Service                         $30.30
  Postage                           1.00
  Travel                           15.00
  PD to SOS                        10.00

TOTAL                             $56.30




                                                                              D     PUTY    JENNIFER          L    BOUCHER
                                                                          errirfack        County         Sheriff's          Office
             A TRUE        COPY   ATTEST:



             Fl
             L/       Vv


                  DEPUTY     BOUCHER
        Merrimack County Sheriff's Office
                     Case 1:22-cv-00185-AJ Document 1 Filed 05/24/22 Page 16 of 18



                                      THE STATE OF NEW HAMPSHIRE
                                                     JUDICIAL BRANCH
                                                         SUPERIOR            COURT
Coos Superior Court                                                                                     Telephone: 1-855-212-1234
55 School St., Suite 301                                                                            TTY/TDD Relay: (800) 735-2964
Lancaster NH 03584                                                                                     http://www.courts.state.nh.us



                                            SUMMONS               IN A CIVIL ACTION



Case    Name:           Justin    Laundry v Peddinghat us Corporation
Case Number:            214-20; 22-CV-00020


Date Complaint Filed: Ap ril 13, 2022
A Complaint has been file d against Peddinghaus Corporation in this Court. A copy of the Complaint is
attached.


The Court ORDERS            that ON OR BEFORE:
June 03, 2022                          Justin Laundry shall h ave this Summons and the attached Complaint
                                       served upon Pedding haus Corporation by in hand or by leaving a copy at
                                       his/her abode, or by s uch other service as is allowed by law.
June 24, 2022                          Justin Laundry shall € lectronically file the return(s) of service with this
                                       Court. Failure todo s > may result in this action being dismissed without
                                       further notice.
30 days after Defendant                Peddinghaus Corpore            ition must electronically file an Appearance and
is served                              Answer or other resp           onsive pleading form with this Court. A copy of the
                                       Appearance and Ans             ver or other responsive pleading must be sent
                                       electronically to the p        arty/parties listed below.

Notice to Peddinghaus Corporation: If you do not comply with these requirements you will be
considered in default and the Court may issue or: ders that affect you without your input.
‘Send copies to:
  Mark D. Wiseman,          ESC   )                Cleveland \ Naters and Bass PA Two Capital Plaza 5th Floor PO
                                                   Box 1137 C soncord NH 03302-1137
  Peddinghaus Corporati           on               300 North V Vashington Avenue Bradley IL 60915
                                                                               BY ORDER OF THE COURT

April 19, 2022                                                                 David P. Carlson
                                                                               Clerk of Court
(1082)




NHJB-2678-Se (07/01/2018)
                                          This is a Service Docume nt For Case: 214-2022-CV-00020
                                                           Coos      S uperior Court
                                                            4/19/2     22 10:27 AM |
                       Case 1:22-cv-00185-AJ Document 1 Filed 05/24/22 Page 17 of 18




                                     THE STATE OF NEW HAMPSHIRE
                                                 JUDICIA   \L BRANCH
               |                                   SUPER   OR COURT
Coos Superior Court                                                                       Telephone: 1-855-212-1234
55 School St., Suite 301                                                              TTY/TDD Relay: (800) 735-2964
Lancaster NH       03584                                                                 http://www.courts.state.nh.us


                                              NOTICE TC ) DEFENDANT
Case Name:                   Justin Laundry v Peddin ghaus Corporation
Case Number:                 214-2022-CV-00020
You have been served with a Complaint which s¢ 2rves as notice that this legal action has been filed
against you in the Coos  uperior Court. Review the Complaint to see the basis for the Plaintiff's
claim.
Each Defendant is requi Il to electronically file a n Appearance and Answer 30 days after service.
You may register and re shan on any private or public computer. For your convenience, there is also
a computer available in t e courthouse lobby.
If you are    working with an attorney, they will guid you on the next steps. If you are going to
represent     yourself in this action, go to the court's website: www.courts.state.nh.us, select the
Electronic     Services icon and then select the option for a self-represented party.
        1.    Complete the registration/log in process. Click Register and follow the prompts.
       2.     After you regis er, click Start Now.      Se ect Coos   Superior Court as the location.
         3.   Select “I am   fili   ng into an existing case ". Enter 214-2022-CV-00020 and click Next.
         4.   When you find the case, click on the link and follow the instructions on the screen. On the
              “What would ya u like to file?” screen, s elect “File a Response to Civil Complaint”. Follow
              the instructions to complete your filing.
              Review your R¢ sponse before submitt ng it to the court.

IMPORTANT:     After recei ving your response and other filings the court will send notifications and
court orders electronically to the email address vi ou provide.
A person who is filing or ¢ lefending against a Civ | Complaint will want to be familiar with the Rules of
the Superior Court, which are available on the co urt’s website: www.courts.state.nh.us.
Once you have registered | and responded to the            summons, you can access documents electronically
filed by going to https://oc ypa.nhecourt.us/portal        and following the instructions in the User Guide.      In
that process you will regis ster, validate your email      , request access and approval to view your case.
After your information is v alidated by the court, y       ou will be able to view case information and
documents filed in your c ase.


If you have questions reg arding this process, ple ase contact the court at 1-855-212-1234.




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                                CERTIFICATE OF SERVICE

      I, Christian H. Hinrichsen, hereby certify that on this date I served a copy of the forgoing
by emailing the same to:

                                  Mark D. Wiseman, Esq.
                                  Cleveland Waters and Bass, P.A.
                                  Two Capital Plaza
                                  PO Box 1137
                                  Concord, NH 03302-1137
                                  wisemanm@cwbpa.com


                                             /s/ Christian H. Hinrichsen
                                             Christian H. Hinrichsen


Date: May 24, 2022
